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AO 450 (Rev. 01/09) Judgment in a Civil Action

                                                                                                                       FILED
                                         UNITED STATES DISTRICT COURT                                            February 02, 2021
                                                               for the                                         CLERK, U.S. DISTRICT COURT
                                                                                                               WESTERN DISTRICT OF TEXAS
                                                       WesternDistrict
                                                   __________  Districtofof__________
                                                                            Texas
                                                                                                                              MGR
                                                                                                           BY: ________________________________
                                                                                                                                   DEPUTY
                      Alexander Molina                               )
                             Plaintiff                               )
                                v.                                   )      Civil Action No. 5:20-cv-626-OLG
           Smurfit Kappa North America, LLC                          )
                            Defendant                                )

                                                  JUDGMENT IN A CIVIL ACTION


The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus postjudgment interest at the rate of             %, along with costs.
’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .
✔
’ other:       The Court finds that Plaintiff’s claims should be DISMISSED for failure to prosecute pursuant to Federal
               Rule of Civil Procedure 41(b).
                                                                                                                                        .


This action was (check one):

’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.
’ tried by Judge                                                                         without a jury and the above decision
was reached.
✔
’ decided by Judge          Orlando L. Garcia




Date:            02/03/2021                                                CLERK OF COURT




                                                                                         Signature of Clerk or Deputy Clerk
